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                                  November 4, 2019


Honorable William H. Pauley
United State District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

      Re: United States v. Roger Thomas Clark
           15-cr-866(WHP)

Dear Judge Pauley:

       At the last status conference in this case on July 18, 2019, the Court
directed the parties to submit a letter, addressing any issues that we anticipate
raising at the November 13, 2019, conference. We are now in the middle of
motion practice. The defense motions were submitted on October 31, 2019. The
government will file its response on or before December 12, 2019. The defense
reply is due by January 8, 2020. I have consulted with the government, and the
parties agree that since the last conference no new issues have arisen that
require the Court's attention.

                                                        Respectfully submitted,


                                                                  /s/
                                                        Stephanie M. Carvlin

cc: AUSA Michael Neff
     AUSA Vladislav Vainberg
     AUSA Eun Young Choi (via ECF)
